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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                   )
LEANDRA ENGLISH,                                   )
                                                   )
               Plaintiff,                          )
                                                   )
       v.                                          )       No. 1:17-cv-02534-TJK
                                                   )
DONALD J. TRUMP and                                )
JOHN MICHAEL MULVANEY,                             )
                                                   )
               Defendants.                         )
                                                   )

                                NOTICE OF APPEARANCE

       Please take notice that Benjamin T. Takemoto of the United States Department of Justice

hereby enters his appearance in the above-captioned matter as counsel for Defendants.

Dated: November 27, 2017                           Respectfully submitted,

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